      Case 2:17-cv-00784-JFC-CRE Document 103 Filed 01/12/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


ROBERT DeSHIELDS,                         )
                                          )                 Civil Action No. 2: 17-cv-0784
v.                                        )
                                          )                 United States Senior Judge
                                          )                 Joy Flowers Conti
MICHAEL ZAKEN,                            )
MARK DIALESANDRO,                         )
OFFICER ALBAN, SHELLY MANKEY, )
S. LONGSTRETH, and MS. CONGELIO, )
All sued in their Individual and Official )
Capacity,                                 )
                                          )
       Defendants.
                                          ORDER



       And now this 12th day of January, 2021, in accordance with the accompanying opinion, it

is hereby ORDERED that the magistrate judge’s Report and Recommendation (ECF No. 99), to

which no objections were filed, is adopted as the opinion of this court as supplemented in the

opinion. It is further ORDERED that this case is DISMISSED with prejudice due to plaintiff

Robert DeShields’ failure to prosecute the action.



                                                     BY THE COURT:

                                                     /s/ Joy Flowers Conti
                                                     Joy Flowers Conti
                                                     Senior United States District Court Judge
